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UN|TE") STATES D|STRICT COURT
Ao91(Rev.1i/1i) Criminaicomplaim ALBU@UEHQUE, NEW MEX|CO

UNITED STATES DISTRICT CoURT MAY' 24 2018

for the

District of New Mexico

/§m>`mw

United States of America
v.

A||ister Danzig Quintana,
year of birth 1994

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Defendant(s)

CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of February 2-8, 2018 in the county of RiO Al”l'iba in the

 

 

District of New Mexico , the defendant(s) violated:

Code Section O]j”ense Descriptl'on

Titie 18 §1153 Offenses committed within indian country
Tit|e 18 §1111 |V|urder

This criminal complaint is based on these facts:

See attached affidavit

d Continued on the attached sheet.

Complainant ’s signature

' 1 ' / /

Printed name and till

Sworn to before me and signed in my presence

ngpa W zia/web

Judge s signaturea

KAREN B. MOLZ
City and states M~@v*~q/M MM U. S. MAG|STRATEE.|';I|DG_E

Printed name and title

 

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AFFIDAVIT IN SUPPORT OF
CRIMINAL COMPLAINT

I, Rachael Hickox, being duly sworn, state as follows:
INTRODUCTION AND AGENT BACKGROUND

l. This affidavit is made in support of a Criminal Complaint and an Arrest Warrant
for Allister Danzig QUINTANA, (referred to herein as “QUINTANA”), year of birth 1994.

2. I am a Special Agent with the United States Department of Justice, Federal Bureau
of Investigation (FBI) and have been employed as such since 2012. I am currently assigned to the
Violent Crimes Program within the Albuquerque Division of the FBI. l have investigative
responsibility for investigating crimes that occur in Indian Country, including violent crimes such
as homicide, robbery, arson, aggravated assault, and sexual assault. As a Federal Agent, I am
authorized to investigate violations of the laws of the United States and have authority to execute
arrest and search warrants issued under the authority of the United States.

3. This affidavit is based upon information reported to me by other federal, state, and
local law enforcement officers during the course of their official duties. Throughout this affidavit,
reference will be made to law enforcement officers. Law enforcement officers are those federal,
state, and local law enforcement officers who have directly participated in this investigation This
affidavit is also based upon information gained from interviews with cooperating citizen witnesses,
whose reliability is established separately herein.

4. Based on my training, experience, and the facts set forth in this affidavit, I believe
there is probable cause that violations of United States Code Title 18 §l l ll and §1153 - Murder
committed within Indian country, were committed by QUINTANA.

Because this affidavit is submitted for the limited purpose of securing authorization for a

Criminal Complaint and Arrest Warrant, I have not included each and every fact known to me

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‘ concerning this investigation This affidavit is intended to show that there is sufficient probable
cause for the requested warrant.
PROBABLE CAUSE

5. On February 14, 2018, the Albuquerque Division, Farmington Resident Agency of
the FBI was notified by the Jicarilla Apache Police Department of the discovery of a deceased
body inside the residence of 66 Navajo Street in Dulce, New Mexico, on the Jicarilla Apache
Indian Reservation. lt was reported to the FBI that the body was found naked inside of a closet
with significant injuries and the hands and feet were bound. Officers also reported a substance
resembling blood inside the residence The occupant and reported owner of the residence,
identified as QUINTANA, was reported as being arrested on or about February 8, 2018 by the
Jicarilla Apache Police Department on separate tribal charges and was incarcerated at the time of
the discovery of the body. The body was later identified by the Office of the Medical Investigator
in Albuquerque to be that of an individual with the initials of T.H. and a year of birth of 1989,
hereinafter referred to as John Doe.

6. The FBI’s Evidence Response Tearn (ERT) responded to the QUINTANA
residence on the evening of 02/14/2018. A Federal Search warrant was obtained authorizing the
search of the QUINTANA residence. Upon execution of the warrant there were numerous areas
within the residence that were damaged There were also several areas throughout the residence
that had dried reddish-brown stains that appeared to be dried blood. The naked body of deceased
John Doe was found in the hallway closet with his hands and feet bound with cordage. A back
bedroom in the residence was found to be clear of furniture and appeared to be in the process of
being re-modeled. In the middle of the room was a handmade wooden stool. A significant amount

of what appeared to be dried blood was splattered on the floor surrounding the stool. There was

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also what appeared to be dried blood splattered on one of the walls of the empty bedroom. Near
the door of the bedroom and on the floor was a large trail of what appeared to be dried blood that
was smeared and led to the hallway and near the closet where John Doe’s body was discovered.
Inside the room, two items were discovered that appeared to be improvised weapons. The items
are describe as appearing to be broken broom sticks with one end of each stick having black cloth
wrapped in silver duct tape. These items appeared to have dried blood on them. During the course
of the search of QUINTANA’s residence a strong smell of decomposition was noted. lt was
observed that the thermostat in the residence had been left high making the temperature in the
residence very warm.

7. An autopsy was conducted by the Office of the Medical Investigator on February
15, 2018 in Albuquerque, New Mexico. The autopsy resulted in the ruling that the death of John
Doe was homicide.

8. On February 14, 2018, a Native American male with the initials of B.C., with a year
of birth of 1995, was interviewed by law enforcement regarding the discovery of John Doe’s body.
B.C. stated that he was associated with QUINTANA and was denied entry into QUINTANA’s
residence on or about February 3-5, 2018 by QUINTANA, whichB.C. described as abnormal
behavior. B.C. also stated that he had an in-person conversation with QUINTANA on or about
February 13, 2018 in which QUINTANA stated that he did something wrong and needed to clean
up his house. QUINTANA said that once he bonded out of jail, he was going to clean up the mess
at his house and leave the Jicarilla Apache Indian Reservation.

9. On February 23, 2018, a Native American female with the initials A.C., with a year
of birth of 1989, was interviewed by law enforcement regarding the murder of John Doe. During

the interview, A.C. stated that she was the former girlfriend of John Doe, and that she and John

 

 

 

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1 Doe had a child together. A.C. reported that John Doe was given QUINTANA’s bank card by
QUINTANA and was supposed to withdraw money for QUINTANA to bond out of jail in late
January 2018; however, John Doe failed to do so. On or about February 2, 2018, A.C. and John
Doe spent the morning in Pagosa Springs, Colorado with their child. A.C. then dropped off John
Doe in Dulce, New Mexico with a friend, and subsequently met with QUINTANA, Andrew
Bettelyoun, and Sharol Cachucha. A.C. and the three individuals then traveled to Pagosa Springs
so that QUINTANA could withdraw money from his bank account and post bond for another
friend who was incarcerated in Dulce. A.C. stated that QUINTANA was unable to withdraw the
money, and subsequently contacted B.C. and requested that B.C. drive to Pagosa Springs,
Colorado to give them a ride back to Dulce, New Mexico. B.C. and B.C.’s girlfriend drove to
Pagosa Springs, picked up QUINTANA and Andrew Bettelyoun, and then drove back to Dulce in
the evening hours. A.C. and Cachucha remained in Pagosa Springs for the night and returned to
Dulce the following morning

10. A.C. stated that in the evening hours of February 02, 2018, at approximately
11:00pm, she conducted a video chat with John Doe. At approximately 11:26pm, John Doe
attempted to conduct another video chat with A.C., but was unable to do so. A.C. then attempted
to communicate with John Doe after 11:26pm on numerous occasions over the next few days, but
without success. That was the last time A.C. had contact with John Doe.

11. A.C. provided screenshots of Instagram posts made by the account titled
“danzigcrowley” to another individual and further said that she was provided with the information
that the Instagrarn account “danzigcrowley” belonged to QUINTANA. The posts were as follows:

danzigcrowley: “Every thing happened”

other post: “What do you mean by that?”

 

 

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danzigcrowley: “Like ppl drinking n arguing n dumb shit”
other post: “Are you drunk?”

danzigcrowley: “I wish I’m kicking some ass”

other post: “Why?”

danzigcrowley: “Cuz thought l had family but now I know I’m by myself. . .N lost u n mad

at the world n tryan Change just been through a lot”

other post: “Just calm down please..sigh, your not fully alone. . . .Have fun an be safe I can’t

talk at the moment now. . . .” v

danzigcrowley: “But y?? N same here about to kill someone”

other post: f‘Why? An 1 hate myself n”

danzigcrowley: “Have to do some bat man shit”

other post: “To who?”

danzigcrowley: “Don’t worry about it be shit all over the house nigga scard”
The Instagram messaging had a time and date stamp of February 3 at 12:02arn.

12. On February 27, 2018, a Native American Female with the initials J.V., with a year
of birth of 1996, was interviewed by law enforcement During the interview, J.V. said that she was
a close associate of QUINTANA. J.V. was shown the screenshots of the Instagram posts provided
by A.C. J.V. stated that “danzigcrowley” was the Instagram account used by QUINTANA, and
that she was the “other posts” responding to QUINTANA on or about the night of February 2 or

the early morning hours of February 3, 2018. J.V. stated that she was certain the individual posting

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was QUINTANA, as she knew QUINTANA not to allow other individuals to use or have access
his account. J.V. said that she believed QUINTANA to be drunk based on the verbiage of the
messages, and her previous encounters messaging with him.

13. On April 23, 2018 a Federal Search Warrant authorizing the search of the Instagram
account “danzigcrowley” was obtained. The search warrant was served on Facebook L.L.C. (the
parent company of Instagram) and the records were returned on May 22, 2018. Subscriber
information received with the business records showed a verified telephone number of (505) 470-
4487. Investigation revealed that the telephone (505) 470-4487 is the number that is utilized by
QUINTANA. Through the course of the investigation, associates of QUINTANA’s identified
“danzigcrowley” as being the Instagram account used by QUINTANA. A review of the search
warrant return by FBI SA Waldron revealed numerous communications between danzigcrowley
and other Instagram users. One of the communications in the records return provides details of
and confirms the communication exchange captioned in paragraph 12 of this affidavit

14. A review of the records received from the Instagram search warrant revealed a
communication between danzigcrowley and Instagram user dakidoncloud 9 that began at 10:31
a.m. on February 03, 2018.

Danzigcrowley- “bro”

Dakidoncloud9- “whats up mane”

Danzigcrowley- “I was about to kill someone last night”

Dakidoncloud9- “What the fuck who my nigga”

Danzigcrowley- “My brother haha”

Dakidoncloud9- “Which one ?”

Danzigcrowley- “Travis shit was crazy”

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15. On February 27, 2018, a Native American female with the initials H.H., with a year
of birth of 1991 , was interviewed by law enforcement During the interview, H.H. stated that John
Doe and QUINTANA fought in the past, and that the fights were the result of John Doe having a
sexual relationship with QUINTANA’s biological mother. H.H. said that she knew QUINTANA
to be violent, more so when he was intoxicated or on drugs.

16. On April 16, 2018 a male with the initials of J.M. and with a year of birth of 1990
was interviewed by a Special Agent of the FBI. J.M. advised that on or about February 12, 2018,
QUINTANA and J.M. were incarcerated at the Jicarilla Apache Detention Center in Dulce, New
Mexico. QUINTANA approached J.M. and had a conversation with him. During the
conversation, QUINTANA told him that Andrew and him had tortured and killed someone and
had bound the body in a closet. QUINTANA acted nervous while talking with J.M. and said that
he was concerned because he left the heat on in the house which QUINTANA believed would
cause the body to decompose quicker.

17. On April 26, 2018, a Native American male with the initials of M.M. and a year of
birth of 1995 was interviewed by a Special Agent of the FBI in Dulce, New Mexico. M.M.
reported that he had been incarcerated with QUINTANA during approximately the second week
of February 2018. M.M. reported that he had three separate conversations with QUINTANA
during his time in jail. During the first conversation, QUINTANA approached M.M. and said that
he was planning on moving to Santa Fe to attend school once he was released from jail and needed
someone to look after his house. QUINTANA asked M.M. if he would help him clean up his
house. During the second conversation QUINTANA told M.M. that he was in “deep shit” and that
only certain people knew about it. During the third conversation QUINTANA asked M.M. to help

clean something up from his house when they were both released from jail. QUINTANA made

 

 

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the comment that he needed to get something out of his house before it started to stink and that if
he did not get it out before it began to stink then it would result in a manslaughter charge.

JURISDICTIONAL STATEMENT

 

18. The offenses detailed in this affidavit were committed within the exterior
boundaries of the Jicarilla Apache Indian Reservation.
19. QUINTANA is an enrolled member of the Jicarilla Apache Tribe.
CONCLUSION
20. Based on my training, experience, and the facts as set forth in this affidavit, there
is probable cause to believe that violations of United States Code Title 18 §1111 and §1153 -

Murder committed within Indian country, were committed by QUINTANA.

Assistant United States Attomey Joseph Spindle reviewed and approved this affidavit and

Rachael Hickox
Special Agent
Federal Bureau of Investigation

Criminal Complaint.

Subscribed and sworn before me this 51qu /day ofM May 2018

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United States Magistrate Judge

